Case 3:12-cr-30034-RAL           Document 78           Filed 07/24/12   Page 1 of 2 PageID #: 243
                                                                                   FILED
                                                                                   JUL 2 ~ 2012

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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF SOUTH DAKOTA
                                    CENTRAL DIVISION

UNITED STATES OF AMERICA,                          *           CR 12-30034-02-RAL
                                                   *
          Plaintiff,                               *
                                                   *
   vs.                                             *
                                                   *        ORDER DENYING MOTION
INA CROW DOG,                                      *            TO SUPPRESS
                                                   *
          Defendant.                               *


         Defendant Ina Crow Dog and her husband Anthony Fast Horse are charged conjointly, as
principals and aiders and abettors, with five counts of sexual abuse and aggravated sexual abuse in
violation of18 U.S.C. §§ 1153,2242(2), 2246(2)(A), 2241(a), and 2. Doc. 3. Crow Dog moved to
suppress statements she made to FBI Agent Oscar Ramirez and Rosebud Sioux Tribe Special Agent
Calvin WaIn Jr., during an October 30, 2011 interview. Doc. 48.
         Magistrate Judge Mark A. Moreno held an evidentiary hearing on Crow Dog's motion to
suppress on June 7, 2012. Judge Moreno heard testimony from Agent Ramirez and received into
evidence a recording ofthe October 30,2011 interview and an advice ofrights form signed by Crow
Dog. Based upon this evidence, Judge Moreno issued a report and recommendation on June 12,
2012, finding that Agent Ramirez had properly advised Crow Dog of her rights under Miranda v.
Arizon!!, 384 U.S. 436 (1966) and that Crow Dog's statements were voluntary. Doc. 67.
         Crow Dog has not filed any objections to the report and recommendation, and the time for
doing so has expired. Crow Dog has thus waived her right to de novo review of her motion to
suppress. See United States v. Rodriguez,484 F.3d 1006, 1010-11 (8th Cir. 2007) ("Rodiriquez's
'failure to file any objections waived his right to de novo review by the district court of any portion
of the report and recommendation of the magistrate judge as well as his right to appeal from the
findings offact contained therein.!!!) (quoting United States v. Newton, 259 F.3d 964,966 (8th Cir.
2001 )). This Court finds no plain error in Judge Moreno's decision. Accordingly, this Court adopts
the report and recommendation.
         For the foregoing reasons, it is hereby
Case 3:12-cr-30034-RAL          Document 78       Filed 07/24/12   Page 2 of 2 PageID #: 244




     ORDERED that the Report and Recommendation, Doc. 67, is adopted in full. It is further
     ORDERED that the Motion to Suppress, Doc.48. is denied.


     Dated July ~I./"', 2012.

                                    BY THE COURT:


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